                            UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 Midas Green Technologies, LLC,

        Plaintiff,                                 Civil Action No. 6:22-cv-00050-ADA

                - vs. -                            Jury Trial Demanded

 Rhodium Enterprises, Inc.;
 Rhodium Technologies LLC;
 Rhodium 10mw LLC;
 Rhodium 2.0 LLC;
 Rhodium 30mw LLC;
 Rhodium Encore LLC;
 Rhodium Industries LLC;
 Rhodium JV LLC;
 Rhodium Renewables LLC;
 Rhodium Shared Services LLC;
 Rhodium Shared Services PR Inc.;
 Chase Blackmon;
 Cameron Blackmon; and
 Nathan Nichols,

        Defendants.


                           CASE READINESS STATUS REPORT

       Plaintiff Midas Green Technologies, LLC and Defendants Rhodium Enterprises, Inc.;

Rhodium Technologies LLC; Rhodium 10mw LLC; Rhodium 2.0 LLC; Rhodium 30mw LLC;

Rhodium Encore LLC; Rhodium Industries LLC; Rhodium JV LLC; Rhodium Renewables LLC;

Rhodium Shared Services LLC; Rhodium Shared Services PR Inc.; Chase Blackmon; Cameron

Blackmon; and Nathan Nichols (i.e., all Defendants) hereby provide the following status report:

                                         SCHEDULE
       A scheduling order has not yet been filed. A Markman date has not yet been proposed. A
trial date has not yet been proposed.



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                                FILING AND EXTENSIONS

       Plaintiff’s Complaint was filed on January 13, 2022. There has been one extension for a

total of 38-48 days (whereby the duration of the extension varied for different Defendants).

                            RESPONSE TO THE COMPLAINT

       Defendants responded to the Complaint with Defendants’ Motion to Dismiss Plaintiff’s

Complaint (Dkt. 39) on March 28, 2022. Defendants have not yet answered the complaint or filed

counterclaims.

                                    PENDING MOTIONS

       There is presently one pending motion, i.e., Defendants’ Motion to Dismiss Plaintiff’s

Complaint (Dkt. 39).

       Plaintiff is contemplating the filing of a motion for discovery on the issues of (i) personal

jurisdiction and venue, as to Defendant Rhodium Shared Services PR Inc.; and (ii) the role(s) of

the certain Defendant entities (in response to a portion of Defendants motion to dismiss).

                   RELATED CASES IN THIS JUDICIAL DISTRICT

       None.

                         IPR, CBM, AND OTHER PGR FILINGS

       There are no presently pending IPR, CBM or other PGR filings.

                  NUMBER OF ASSERTED PATENTS AND CLAIMS

       Plaintiff has asserted two patent[s] and a total of 16 claims. The asserted patent(s) are

U.S. Patent Nos. 10,405,457 and 10,820,446.

                       APPOINTMENT OF TECHNICAL ADVISOR

       The Parties defer to the Court but believe that a technical advisor is not necessary.

                              MEET AND CONFER STATUS



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       Plaintiff and Defendants met and conferred. The Parties identified the following pre-

Markman issues to raise at the CMC:

           •   Plaintiff intends to raise whether the claim construction schedule may potentially
               be compressed or eliminated completely, in light of the prior claim construction
               Order and related proceedings in a now-dismissed related case involving Plaintiff
               and an entity affiliated with Defendants Chase Blackmon, Cameron Blackmon
               and Nathan Nichols, Green Technologies, LLC v. Immersion Systems LLC, No.
               4:20-cv-00555-O (N.D. Tex.).



Plaintiff’s Additional Statement:

               The Parties have begun to confer concerning on whether Plaintiff should be
               permitted to take discovery on (i) personal jurisdiction and venue issues, re
               Defendant Rhodium Shared Services PR Inc.; and (ii) regarding the roles and
               activities of the various subsidiaries of Defendant Rhodium Enterprises, Inc. As
               of the filing of this CRSR, it has not yet been determined if there is a dispute
               between the Parties.

Defendants’ Additional Statement:      Defendants note that Plaintiff has not stated whether it

actually will seek the discovery listed in items (i) and (ii) above, nor has Plaintiff provided any

proposed discovery on these items. In the event Plaintiff informs Defendants that it will seek

such discovery, Defendants will meet and confer with Plaintiff in good faith to attempt to

minimize any disputes between the parties.



 DATED: April 4, 2022                                 Respectfully submitted,




 /s/ Henry Pogorzelski                                /s/ Benjamin Herbert, by permission
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                                    LLC, Rhodium JV LLC, Rhodium Renewables
                                    LLC, Rhodium Shared Services LLC,
                                    Rhodium Shared Services PR Inc., Chase
                                    Blackmon, Cameron Blackmon, and Nathan
                                    Nichols




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                                CERTIFICATE OF SERVICE

       I hereby certify that counsel of record who have appeared electronically in this case are

deemed to have consented to electronic service and are being served on April 4, 2022 with a copy

of this document via the Court’s CM/ECF system.


                                            /s/ Henry Pogorzelski
                                            Henry M. Pogorzelski




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